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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND


 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, on behalf of its members
 and members’ patients,
 COUNCIL OF UNIVERSITY CHAIRS OF
 OBSTETRICS AND GYNECOLOGY, on
 behalf of its members and members’ patients,
 NEW YORK STATE ACADEMY OF
 FAMILY PHYSICIANS, on behalf of its
 members and members’ patients,
 SISTERSONG WOMEN OF COLOR
 REPRODUCTIVE JUSTICE COLLECTIVE,
 on behalf of its members and members’
 patients, and
 HONOR MACNAUGHTON, M.D.,

        Plaintiffs,
                                                        Civil Action No. TDC-20-1320
        v.

UNITED STATES FOOD AND DRUG
ADMINISTRATION,
STEPHEN M. HAHN, M.D., in his official
capacity as Commissioner of Food and Drugs,
and his employees, agents and successors in
office,
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES and
ALEX AZAR, J.D., in his official capacity as
Secretary, United States Department of
Health and Human Services, and his
employees, agents and successors in office,

        Defendants.



                                           ORDER

       Pending before the Court is the Intervenors’ Motion to Reconsider, filed by the states of

Indiana, Louisiana, Alabama, Arkansas, Idaho, Kentucky, Mississippi, Missouri, Nebraska, and
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Oklahoma (“the Opposing States”), ECF No. 88. On June 15, 2020, the Court denied the Opposing

States’ Motion to Intervene, ECF Nos. 51, 72. In the Motion to Reconsider, the Opposing States

submit their proposed Answer to Plaintiffs’ Amended Complaint to comply with the requirement

of Federal Rule of Civil Procedure 24(c) that a motion to intervene be accompanied by a pleading

setting out the proposed intervening party’s clime or defense.

        Under Federal Rule of Civil Procedure 54, an interlocutory order “may be revised at any

time before the entry of a judgment adjudicating all the claims and all the parties’ rights and

liabilities.” Fed. R. Civ. P. 54(b). Reconsideration under Rule 54(b) is at the sound discretion of

the district court. See Am. Canoe Ass’n, Inc. v. Murphy Farms, Inc., 326 F.3d 505, 515 (4th Cir.

2003). Although the Rule 54(b) standard is not as exacting as the Rule 59 and 60 standard, see

Fayetteville Inv’rs v. Commercial Builders, Inc., 936 F.2d 1462, 1472 (4th Cir. 1991), revisiting

earlier rulings is still “subject to the caveat that ‘where litigants have once battled for the court’s

decision, they should neither be required, nor without good reason permitted, to battle for it

again,’” Official Comm. of the Unsecured Creditors of Color Tile, Inc. v. Coopers & Lybrand,

LLP, 322 F.3d 147, 167 (2d Cir. 2003) (quoting Zdanok v. Glidden Co., Durkee Famous Foods

Div., 327 F.2d 944, 953 (2d Cir. 1964)).

        Upon review of the Motion, the Court finds no basis to reconsider its prior ruling. The

Court’s decision to deny the Motion to Intervene was not solely dependent on the failure to include

a proposed Answer, and upon review of the proposed Answer, the Court finds no basis to alter its

prior ruling.




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       Accordingly, it is hereby ORDERED that the Motion to Reconsider, ECF No. 88, is

DENIED.




Date: July 13, 2020                            /s/ Theodore D. Chuang
                                              THEODORE D. CHUANG
                                              United States District Judge




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